

People v Spencer (2023 NY Slip Op 00039)





People v Spencer


2023 NY Slip Op 00039


Decided on January 05, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2023

Before: Renwick, J.P., Gesmer, Kennedy, Scarpulla, Pitt-Burke, JJ. 


Ind No. 3138/15, 3885/15 Appeal No. 17036-17036A Case No. 2019-458 

[*1]The People of the State of New York, Respondent,
vMarquise Spencer, Defendant-Appellant. 


Twyla Carter, The Legal Aid Society, New York (Hannah Gladstein of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



Judgments, Supreme Court, New York County (Gregory Carro, J.), rendered February 10, 2016, convicting defendant, upon his pleas of guilty, of criminal possession of a forged instrument in the second degree and grand larceny in the fourth degree, and sentencing him to an aggregate term of 90 days with five years' probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharges and fees imposed at sentencing, and otherwise affirmed.
Based on our interest of justice powers and the People's consent, we vacate the surcharges and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2023








